Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 1 of 12




                  EXHIBIT B-115
     Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 2 of 12
                                                                                     FILEDINOFFICE

                    IN THE SUPERIOR COURT OF FULTON COUNT
                                                                                 '
                                      STATE OF GEORGIA


INRE:1i,,                                      )
SPECIAL PURPOSE GRAND JURY                     )       2022-EX-000024
       :1                                      )
Witnesi                                        )       Judge Robert C. I. McBurney
Jim Penrose                                    )


     PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
    SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       COMES NOW the State of Georgia, by and through Fani T. Willis, District Attorney,
       ,i

Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92 et seq., and in support thereof says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

            by order of this court on May 2, 2022. See Order Impaneling Special Purpose Grand

            Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

            Grand Jury is authorized to investigate any and all facts and circumstances relating

            directly or indirectly to possible attempts to disrupt the lawful administration of the

            2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

            Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

       r    criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

            nature in that it was requested for the purpose of investigating· criminal disruptions
                                                                             ;
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            related to the 2020 elections in Georgia, and the Special Purptjse Grand Jury is
Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 3 of 12


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    authorized to make recommendations concerning criminal pro~ecution. Further, the
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    authority for a special purpose grand jury to conduct a criminai investigation has been
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                                                                       '
    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Jim Penrose, born August 17, 1978, (hereinafter, "the Witness") is a necessary and

    material witness to the Special Purpose Grand Jury's investigation. Through both its

    investigation and through publicly available information, the State has learned the

    following information.

 4. The Witness is a cyber investigations, operations, and forensics consultant who

    engaged with Sydney Powell and others known to be associated with the Trump

    Campaign in late 2020 and early 2021.

 5. Based on publicly reported information, the Witness was among the attendees at a

    January 5, 2021, meeting at The Willard Hotel in Washington, D.C., which was also

    attended by Rudolph Giuliani, John Eastman, and other individuals involved in the •

    multi-state, coordinated efforts to influence the results of the November 2020 election

    in Georgia and elsewhere.

 6. Based on records reviewed by the District Attorney, the Witness had multiple

    communications with Sydney Powell, representatives of Sullivan Strickler including

    COO Paul Maggio, and others, between at least December 2020 and April 2021,

    concerning an agreement between Sullivan Strickler and other;sto copy electronic
                                                                   i
    data from voting system equipment in Coffee County, Georgia, Antrim County,
                                                                   i
                                                                   i

    Michigan, and Clark County, Nevada.                            i
Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 4 of 12




 7. Based on records reviewed by the District Attorney, the Witnds personally accessed
                                                                      I
    electronic data in the possession of Sullivan Strickler, pursuant to the above-

    referenced agreement, that was copied from voting system equipment in Coffee

    County, Georgia.

 8. Based on records reviewed by the District Attorney, in April 2021, the Witness

    arranged for the delivery of a hard drive containing electronic data that was copied

    from voting system equipment to individuals involved in the multi-state, coordinated

    efforts to influence the results of the November 2020 election in Georgia and

    elsewhere.

 9. The Witness, based on the information set forth above, is a necessary and material

    witness. The Witness possesses unique knowledge concerning communications

    between himself and other known and unknown individuals involved in the multi-

    state, coordinated efforts to influence the results of the November 2020 election in

    Georgia and elsewhere. Finally, the Witness's anticipated testimony is essential in

    that it is likely to reveal additional sources of information regarding the subject of this

    investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Prince George's County, Maryland.
Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 5 of 12


                                                                     II

                             .                                       I
 13. The Witness will be required to be in attendance and testify before the Special
                                                                     I
                                                                     I

    Purpose Grand Jury on Tuesday, November 29, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with the Uniform Act

    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.

    See O.C.G.A. §24-13-90 et seq.

 15. If the Witness comes into the State of Georgia pursuant to this request, directing the

    Witness to attend and testify before the Special Purpose Grand Jury, the laws of this

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the
                                               '·
    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states.

 16. Both Georgia and Maryland have adopted the Uniform Act to Secure the Attendance

    of Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90

    Md. Courts and Judicial Proceedings Code Ann.§ 9-301 et seq.
     Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 6 of 12




       WHEREFORE, the State of Georgia, by and through Fani T. Willis, District Attorney,
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                                                                              I

                                                                              I
Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Honorable Court issue a
                                                                              I
Certificate of Need for Testimony Before Special Purpose Grand Jury, puduant to O.C.G.A. § 24-
         :                                                                     I
13-92 et'seq.,
        ,,
               certifying to the proper authorities in the jurisdiction in which the Witness is located
        'i
that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the
        !                                                                     '
        1
        i
Witness\iwillbe needed for the number of days specified above,

       Respectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                          anta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor            !
                                                       Atlanta, Georgia 30303
Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 7 of 12




                     Exhibit A




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   Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 8 of 12




    t
IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRAND JURY

                    OlRlDERAPPROVING REQUEST FOR SPECIAL PURPOSE
                    GRAND JURY PURSUANT TO O.C.G.A. 615-12-100,e't seq.

     •I
        , The District Attorney for the Atlanta Judicial Circuit submitted to th~, judges of the
     }                                                                           I

Superior Coutt of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majoriry of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-lO0(b).

          ': IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impan~led to serve as provided in O.C.G.A. § 15-12-62.l, 15-12-67, and 15.:.12-100,to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge detemrines th~t the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court operations are suspended by order of the Supreme Court of Georgia or the Chief Judge of

the Superior Court. The special purpose grand jury shall be authorized to investigate any and all

factsai+dcircumstancesrelatingdirectlyor indirectly to alleged violations of the laws of the
           '
State of Georgia, as set forth in the request of the District Attorney referenced herein above.
           ip,       .                                              .
           ,Pursuantto O.C.G.A. § 15-12-101(a), the Honorable Robert C. L McBumey is hereby

assigne~ to supervise and assist the special purpose grand jury, and shall charge said special
               '1    '                                                               '


purpos~ grand jury and receive its reports as provided by law.
               :\
   Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 9 of 12



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          This authorization shall include the investigation of any overt acts dr predicate acts
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relating to the subject of the special purpose grand jmy' s investigative purp,ose. The special

purpose grand jury, when making its presentments and reports, pursuant to b.c.G.A. §§ 15-12-
    !i•                                                                             \

71 and 15-12-101, may make recommendationsconcerning criminal prosec~1tionas it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83shall apply.
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     :: This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jnry(ies) impaneled in this C,ircuit to continue to
                                                                                        I
                                                                                        i
be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.

          IT IS FURTHER O..'-!,'~.....,Dthat this Order shall be filed in the Office of the Clerk of
                                     -J----'-..._
                                        ·.\            "
the Superior Court of Fulto Countjy.~                  \._




                                              ...,__         ,
                                  CHRISTOP          S. BRASHER;GHIEF JUDGE
                                  Superior Court of Fulton County
                                  Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 10 of 12




                      Exhibit B
         Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 11 of 12


                       OFFICE OF THE FULTONCOUNTYDISTRICTArrod.NEY
                                   ATLANTAJUDICLA.L
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                                136PRYORSTREETSW,3RDFLOOR       •
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                                        ATLANTA,GEORGIA30303                     'TELEPHONE404-612-4639
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DiscriccAttorney                                        '°'"'
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      The HonorableChristopher S. Brasher
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                                                                                iD'l2.·- EX- D00D11
      ChiefJudge, Fulton County SuperiorCourt                                         FILED IN OFFICE
      FultonCounty Courthouse                                                                       J) ,
      185 Central Avenue SW, Suite T-8905
      Atlanta,Georgia30303                                                      •1 DE
                                                                                    :   FULT


      January20, 2022

      DearCrhiefJudge Brasher:
            I




      I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
      Office has received information indicatinga reasonable probability that the State of Georgia's
      administration of elections in 2020, includingthe State's election of the President of the United
      States, was subject to possible criminal disruptions. Our officehas also learned that individuals
      associated with these disruptions have contacted other agencies empowered to investigate this
      matter,.including the GeorgiaSecretary of State,the Georgia Attorney General, and the United
      StatesAttorney's Office for the Northern Districtof Georgia,leavingthis office as the sole
      agency withjurisdiction that is not a potentialwitness to conduct related to the matter. As a
      result,our officehas opened an investigationinto any coordinated attempts to unlawfullyalter
      the outcomeof the 2020 electionsin this state.

      We have made efforts to interview multiple witnesses and gather evidence. and a significant
      numberof witnesses and prospective witnesses have refused to cooperate with the investigation
      absent a subpoenarequiring theirtestimony.By way of example, GeorgiaSecretaryof State
      Brad Raffensperger,an essential witness to the investigation,has indicated that he i..villnot
      participate in an interview or otherwise offer evidence until he is presented with a subpoenaby
      my office. Please see Exhibit A, attached to this letter.

      Therefore,I am hereby requesting,as the elected DistrictAttorneyfor Fulton County,pursuant
      to O.C.G.A.§ 15-12-100et. seq., that a specialpurposegrandjury be impaneledfor the purpose
      of investigatingthe facts and circumstances relatingdirectlyor indirectly to possibleattemptsto
      disrupt th~ lawful administration of the 2020 elections in the State of Georgia. Specifically, a
      specialpurpose grand jury, which will not have the authorityto return an indictmentbut may
      make recommendations concerningcriminalprosecutionas it shall see fit, is needed for three
                                                                                     I
      reasons: first, a special purpose grandjury can be impaneled by the Court for any time period
      required in order to accomplish its investigation, which will likely exceed a n.ormalgrandjury
         Case 1:23-cv-03721-SCJ Document 1-126 Filed 08/21/23 Page 12 of 12

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    tenn; second, the special purpose grandjury would be empowered to rev~ew     this matter and this
    matter only, with an investigatory focus appropriateto the complexity of the facts and
    circumstances involved; and third, the sitting grandjury would not be reqbred to attempt to
    address this matter in addition to their normal duties.                   \
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    Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101,a Fp.lton County Superior
    Court Judge be assigned to assist and supervisethe special purpose grand jury in carrying out its
    investigation and duties.                 •                              \

    I have:attached a proposed order impaneling the special purpose grand jury for the consideration
    of the Court.
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    ~spect~li~,            I

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'--1J"istrict Attorney, Atlanta Judicial Circuit

    Exhibit A: Transcript of October 31: 2021 episode of lvfeetthe Press on NBC News at 26:04
    (video archived at https://www.youtube.com/watch?v=B7lcBRPgt9k)
    Exhibit B: Proposed Order

    cc:     ,',
    The Honorable Ki.i.--nberly
                             M. Esmond Adams
    The Honorable Jane C. Barwick
    The Honorable Rachelle Carnesdale
    The Honorable Thomas A. Cox, Jr.
    The Honorable Eric Dunaway
    The Honorable Charles M. Eaton, Jr.
    The Honorable Belinda E. Edwards
    The Honorable Kelly Lee Ellerbe
    The Honorable Kevin M. Fanner
    The Honorable Ural Glanville
    The Honorable Shakura L. Ingram
    The Honorable Rachel R. Krause
    The Honorable Melynee Leftridge
    The Honorable Robert C.I. IvlcBumey
    The Honorable Henry M. Newkirk
    The Honorable Emily K. Richardson
    The Honorlble Craig L. Schwall, Sr.
    The Honorable Paige Reese Whitaker
    The Honorable Shennela J. 'Williams
    Fulton County Clerk of Superior Court Cathelene "Tina" Robinson
